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   8
   9                                   UNITED STATES DISTRICT COURT
  10                               CENTRAL DISTRICT OF CALIFORNIA
  11
       KAREN CROSBY, an Individual                   Case No. 2:14-cv-05594-R-PJW
  12
                          Plaintiff,                 Assigned to Hon. Manuel Real
  13                                                 _______________
  14           v.                                    REQUEST FOR JUDICIAL
                                                     NOTICE IN SUPPORT OF
  15                                                 DEFENDANT'S MOTION FOR
     WELLS FARGO BANK, N.A. doing                    PARTIAL JUDGMENT ON THE
  16 business as Wells Fargo Private                 PLEADINGS
  17 Mortgage Banking, and Does 1 through            [Filed concurrently with Defendant's
     25, inclusive,                                  Notice of Motion and Motion for
  18                                                 Judgment on the Pleadings]
  19                    Defendants.
                                                     Date:            September 2, 2014
  20                                                 Time:            10:00 a.m.
                                                     Crtrm:           8
  21
  22                                                 Complaint filed: June 27, 2014
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       SMRH:426467679.1                             REQUEST FOR JUDICIAL NOTICE
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   1           Pursuant to Federal Rule of Evidence 201, Defendant Wells Fargo Bank
   2 (“Defendant”) hereby respectfully requests that the Court take judicial notice of the
   3 following documents in support of its motion for partial judgment on the pleadings.
   4 Under Rule 201(b), a court must take judicial notice of adjudicative facts if
   5 requested by a party and supplied with the necessary information. A judicially
   6 noticed fact must be one not subject to reasonable dispute in that is “capable of
   7 accurate and ready determination by resort to sources whose accuracy cannot
   8 reasonably be questioned." Fed. R. Evid. 201(b).
   9           The following document, attached as Exhibit “A” is judicially noticeable, as it
  10 constitutes part of the record of an administrative agency arising from Plaintiff’s
  11 notice to the Labor Workforce Development Agency of her alleged claims arising
  12 under the California Labor Code Private Attorney General Act (“PAGA”). See
  13 Green v. Warden, U.S. Penitentiary, 699 F.2d 364, 369 (7th Cir. 1983) ("we clearly
  14 have the power to take judicial notice of [plaintiff's] extensive record of litigation as
  15 well as the subject matter of his lawsuits"); Bryant v. Carleson, 444 F.2d 353 (9th
  16 Cir. 1971) (taking judicial notice of proceedings and filings in other courts). In
  17 addition, this document is expressly referenced in the operative Complaint and its
  18 contents are not subject to reasonable dispute:
  19           1.         Letter to Labor Workforce Development Agency from Kenneth P.
  20 Roberts dated February 11, 2014.
  21
       Dated: July 25, 2014
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                                          SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
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                                          By    /s/ Thomas R. Kaufman
  25
                                                              Thomas R. Kaufman
  26
                                                           Attorneys for Defendant
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                                                         WELLS FARGO BANK, N.A.
  28
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       SMRH:426467679.1                             REQUEST FOR JUDICIAL NOTICE
